Case 3:12-cV-01794-SRU Document 112 Filed 07/12/18 Page 1 of 12

UNITED STATES DISTRICT COURT

DISTRICT OF CONNECTICUT
GRANT MACKAY COMPANY, INC., )
)
lntervenoi‘(s), )
)
v. )
)
ASNAT REALTY, LLC, EVERGREEN ) No. 3:12-cv-0]794
POWER, LLC, URI KAUFMAN and )
IRA SCHWARTZ, ) lodge Stefan R. Underhill
)
Defendants. )
)

 

AGREED CONFI`J)ENTIALITY ORDER

Tlie parties to this Agreeci Contidentiaiity Order have agreed to the terms of this Order;
accoi'ciingiy, it is ORDERED: '

l. §ggp_e. All materials produced or adduced in the course of discovery, including
initial disclosures, responses to discovery requests, deposition testimony and exhibits, and
information derived directly therefrom (iiereinafter collectively “documents”), shail be subject to
this Order concerning Confidential bi§ormation as defined below. Tbis Order is subject to the
Locai Ruies of this District and the Federal Rulcs of Civil Procedure on matters of procedure and

calculation of time periods.

2. Cont`idential Information. As used in this Order, “Coni°identiai Inforrnation”
means infomiation designated as “CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER” by
the producing party that falls Within one or more of the following categories: (a) information

prohibited from disclosure by statute; (b) information that reveals trade secrets; (c) researoh,

20319556.v1

 

Case 3:12-cV-01794-SRU Document 112 Filed 07/12/18 Page 2 of 12

technicai, commercial or financial information that the party has maintained as contidential; (d)
medical information concerning any individua]; (e) personal identity information; (i`) income tax
returns (inciuding attached schedules and forms), W-Z forms and 1099 forms; (g) personnel or
employment records of a person Who is not a party to the case; or (h} information in the
possession, custody, or control of the United States Environmcntai Protection Agency that was
designated as “Contidential Business lni`ormation" and submitted pursuant to 40 C.F.R, Part 2,
Subpart B, prior to the commencement of this action. lnfonnation or documents that are

available to the public may not be designated as Contidential Inforrnation.

3. Designation.

(a) A party may designate a document as Confidentiai Int`ormation for protection
under this Order by placing or affixng the Words “CONFIDENTIAL ~ SUBIECT TO
PROTECTIVE ORDER” on the document and on all copies in a manner that Will not interfere
with the legibiiity of the document As used in this Order, “copies” includes electronic images,
duplicates, extracts, summaries or descriptions that contain the Coniidential Int`onnation. The
marking “CONFIDENTIAL ~ SUB§ECT 'I`O PROTECTIVE ORDER” shall be appiied prior to
or at the time of the documents are produced or disclosed Applying the marking
“CONFIDENT£AL - SUBJECT TO PROTECTIVE ORDE ” to a document does not mean that
the document has any status or protection by statute or otherwise except to the extent and for the
purposes of this Order. Any copies that are made of any documents marked “CONFIDENTIAL
~ SUB.TECT TO PROTECTNE ORDER” shall also be so marked, except that indices, electronic

databases or lists of documents that do not contain substantial portions or images of the text of

20319556.vl

-\a»:i\\»i\i» w-n-;n-.…
1 t = :?i.~

Case 3:12-cV-01794-SRU Document 112 Filed 07/12/18 Page 3 of 12

marked documents and do not otherwise disclose the substance of the Contidential information

are not required to be marked

(b) The designation of a document as Contidential information is a certification by
the designating attorney that the document contains Coniidcntial information as defined in this

ordcr.

4. Depositions. Unless ali parties agree on the record at the time the deposition
testimony is taken, ail deposition testimony taken in this case that includes information only
available from a document designated “CONFIDENTLAL - SUBJECT 'i`() PROTECTIVE
ORDER” shall be treated as Contidentiai information for twenty~one (21) days after the
transcript is delivered to any party or the Witness. Within this time period, a party may serve a
Notice of Designation to all parties of record as to specific portions of the testimony that are
designated Contidentiai lnfonnation, and thereafter only those portions identified in the Notice
of Designation shall be protected by the terms of this Order. The failure to serve a timely Notice
of Designation shall waive any designation of testimony taken in that deposition as Confidential

lnformation, unless otherwise ordered by the Coart.
5. Protection of Confidential Material.

(a) General Protections. Confidentiai information shall not be used or disclosed by the
parties, counsel for the parties or any other persons identified in subparagraph (b) for any purpose
whatsoever other than in this litigation, including any appeai thereof, except as required by

applicabie law and regulations

20319556.v1

 

Case 3:12-cV-01794-SRU Document 112 Filed 07/12/18 Page 4 of 12

(b) Limited Third-Party Disclosures. The parties and counsel for the parties shall
not disclose or permit the disclosure of any Contidentiai information to any third person or entity
except as set forth in subparagraphs (i)~(9). Subject to these requirements, the following

categories of persons may be allowed to review Contidential Information:

(l) Counsel. Coensel for the parties and employees of counsel Who have
responsibility for the action (including but not limited to paid or unpaid, temporary or permanent

law clerks, paralegals, and administrative or clerical personnel);

(2) Parties. Individual parties and their employees of a party but only to the
extent counsel determines in good faith that the employee’s assistance is reasonably necessary to

the conduct of the litigation in Which the information is disclosed;

(3) Insurance Carriers. Any insurance carriers of the parties and their

personnel or consultan'ts, and any reinsurers of the carriers and their personnel or consultants, bet ‘

only to the extent the counsel communicating with the insurance carriers, their personnel or
consultants or any reinsurers of the carriers and their personnel or consultants, determines in
good faith that such persons’ assistance is reasonably necessary to the conduct of the litigation in
which the information is disclosed, and only after such persons have completed the certification

contained in Attachment A, Acl<nowledgment of Understanding and Agreement to Be Bound.

(4) The Court and its personnel;

(5) Court Reporters and Recorders. Conrt reporters and recorders engaged

for depositions;

20319556.vl

 

Case 3:12-cV-01794-SRU Document 112 Filed 07/12/18 Page 5 of 12

(6) Contractors. Those persons specifically engaged for the limited purpose of
making copies of documents or organizing or processing documents, including outside vendors

hired to process electronically stored documents;

(7) Consultants and Experts. Consultants, investigators, or experts
employed by the parties or counsel for the parties to assist in the preparation and trial of this
action but only after such persons have completed the certification contained in Attachment A,

Acl<nowledgment of Understanding and Agreement to Be Bound;

(8) Witnesses at depositions During their depositions, witnesses in this
action to Whorn disclosure is reasonably necessary. In connection with review of the transcripts,
witnesses may receive a copy of all exhibits marked at their depositions, including exhibits
containing Confidential Information, but witnesses must return or destroy all Confidential
information after they have completed their transcript review. Pages of transcribed deposition
testimony or exhibits to depositions that are designated as Contidentiai Information pursuant to
the process set out in this Grder must be separately bound by the court reporter and may not be

disclosed to anyone except as permitted under this Order.

(9) Author or recipient 'l`he author or recipient of the document (not

including a person Who received the document in the course of litigation); and

(l E)) Others by Consent. Other persons only by written consent of the

producing party or upon order of the Court and on such conditions as may be agreed or ordered

(c) Controi of Docurnents, Counsel for the parties shali make reasonable efforts to

prevent unauthorized or inadvertent disclosure of Contidential lnforrnation. Counscl shall

20319556.\'1

 

Case 3:12-cV-01794-SRU Document 112 Filed 07/12/18 Page 6 of 12

maintain the originals of the forms signed by persons acknowledging their obligations under this

Order for a period of three years after the termination of the case.

6. Inadvertent Failure to Desigpate. An inadvertent failure to designate a
document as Contidential Inforrnation does not, standing alone, Waive the right to so designate
the document; provided, however, that a failure to serve a timely Notice of Designaticn of
deposition testimony as required by this Order, even if inadvertent, waives any protection for
deposition testimony _If a party designates a document as Coniidentiai information after it was
initially produced, the receiving party, on notification of the designation, must make a reasonable
effort to assure that the document is treated in accordance with the provisions of this Order. No
party shall be found to have violated this Order for failing to maintain the confidentiality of
material during a time when that material has not been designated Contidential Infonnation, even
where the failure to so designate was inadvertent and where the materiai is subsequently

designated Coniidential Information.

7. Piiing of Confidential Information. 'i`his Order does not, by itself, authorize
the filing of any document under seal. Any party wishing to tile a document designated as
Contidential l`nformation in connection with a motion, brief or other submission to the Court

must comply with Local Rule of Civil Procedure S(e).

8. No Greater Protection of Specitic Docurnents. Except on privilege grounds not
addressed by this Order, no party may withhold information from discovery on the ground that it
requires protection greater than that afforded by this Order uniess the party moves for an order

providing such special protection

20319556.\11

 

Case 3:12-cV-01794-SRU Document 112 Filed 07/12/18 Page 7 of 12

9. Challenges bv a Partv to Designation as Contidentiai Int`ormation. 'I`he
designation of any material or document as Contidential Ini;`ormation is subject to challenge by

any party. The following procedure shall apply to any such challenge

(a) Meet and Confer. A party challenging the designation of Contidential
lnformation must do so in good faith and must 1oegin the process by conferring directly With
counsel for the designating party. in conferring, the challenging party must explain the basis for
its belief that the confidentiality designation was not proper and must give the designating party
an opportunity to review the designated material, to reconsider the designation, and, if no change
in designation is offered, to explain the basis for the designation The designating party must
respond to the challenge Within ten (10) business days, except for a response to challenge to
documents or information referenced in Paragraph Z(h), which shall be made within forty-

flve (45) days

(b) .ludicial Intervention. A party that elects to challenge a confidentiality
designation may tile and serve a motion that identifies the challenged material and sets forth in
detail the basis for the challenge Eaeh such motion must be accompanied by a competent
declaration that affirms that the movant has complied With the meet and confer requirements of
this procedure 'l`he burden of persuasion in any such challenge proceeding shall be on the
designating party. Until the Court rules on the challenge ali parties shall continue to treat the

materials as Confidential information under the terms of this Order.

10. Aetion by the Court. Applications to the Court foran order relating to materials

or documents designated Coniidential Inforrnation shall be by motion. Nothing in this Order or

20319556.vl

 

Case 3:12-cV-01794-SRU Document 112 Filed 07/12/18 Page 8 of 12

any action or agreement of a party under this Order limits the Court’s power to make orders

concerning the disclosure of documents produced in discovery or at trial.

ll, Use of Confidential Documents or Information at Trial. Nothing in this ()rder
shall be construed to affect the use of any document, material, or information at any trial or
hearing A party that intends to present or that anticipates that another party may present
Contidential Inforniation at a hearing or trial shall bring that issue to the Ccurt’s and parties’
attention by motion or in a pretrial memorandum without disclosing the Confidential
information 'I`he Court may thereafter make such orders as are necessary to govern the use of

such documents or information at trial.

12. Confidential Int`ormation thpoenaed or Ordered Produced in Other

Litigation.

(a) if a receiving party is served With a subpoena or an order issued in other litigation
that vvould compel disclosure of any material or document designated in this action as
Confldential lnformation, the receiving party must so notify the designating party, in Writing,
immediately and in no event more than three court days after receiving the subpoena or order.

Such notification must include a copy of the subpoena or court order.

(b) The receiving party also must immediately inform in writing the party who caused
the subpoena or order to issue in the other litigation that some or ali of the material covered by
the subpoena or order is the subject of this Order. ln addition, the receiving party must deliver a

copy of this Order promptly to the party in the other action that caused the subpoena to issue.

20319556.vl

 

 

Case 3:12-cV-01794-SRU Document 112 Filed 07/12/18 Page 9 of 12

(c) Tlle purpose of imposing these duties is to alert the interested persons to the
existence of this Order and to afford the designating party in this case an opportunity to try to
protect its Confidential Information in the court from which the subpoena or order issued rl`he
designating party shall bear the burden and the expense of seeking protection in that court of its
Confidential lnl;`orrnation, and nothing in these provisions should be construed as authorizing or
encouraging a receiving party in this action to disobey a lawful directive from another court. 'l`he
obligations set forth in this paragraph remain in effect while the party has in its possession,

custody or control Confidential Information by the other party to this case.

13. Challenges by Mernbers of the Public to Sealina Orders. A party or interested
member of the public has a right to challenge the sealing of particular documents that have been
filed under seal, and the party asserting confidentiality will have the burden of demonstrating the

propriety of filing under seal.
14. Obligations on Conclusion of Litigation.

(a) Order Continues in Force. Unless othelwise agreed or ordered, this Order shall

remain in force after dismissal or entry of final judgment not subject to further appeal.

(b) Obligations at Conclusion of Litigation, Within ninety (90) days after
dismissal or entry of final judgment not subject to further appeal and subject to federal
recordkeeping requirements and other legal obligations, all Confidential Information and
documents marked “CGNFIDENTIAL - SUBJECT TG PROTECTIVE ORDER” under this
Order, including copies as defined in Paragraph B(a), shall be returned to the producing party

unless: (l) the document has been offered into evidence or filed without restriction as to

20319556.\'1

 

Case 3:12-cV-01794-SRU Document 112 Filed 07/12/18 Page 10 of 12

disciosure; (2) the parties agree to destruction to the extent practicabie in lieu of return; or (3) as
to documents bearing the notations, summations, or other mental impressions of the receiving
party, that party elects to destroy the documents and certificate the producing party that it has '_

done so.

(c) ' Retention of Woric Product and one set of Fiied Documents. Nomithstanding
the above requirements to return or destroy documents counsel may retain (1) attorney work
product, including an index that refers or relates to designated Contidentiai Inforrn_ation so long
as that Work product does not duplicate verbatim substantial portions of Contidential
Inf`orrnation, and (2) one complete set of` all documents filed With the Court including those filed
under seai. Any retained Coniidential lnformation shali continue to be protected under this
Order. An attorney may use his or her work product in subsequent litigation, provided that its

use does not disclose or use Confidential Inf`orrnation.

(d) Deletion of Doeurnents filed under Seai from Eiectronic Case Pilina (BCFl

System. Filings under seal shali be deleted front the ECF system only upon order of the Court.

15. Order Subiect to Modilication. This Ordcr Shall be subject to modification by

 

the Court on its own initiative or on motion of` a party or any other person With Standing

concerning the subject matter.

16. No Prior Judiciai Deterrnination. This Order is entered based on the
representations and agreements of the parties and for the purpose of facilitating discovery
Nothing herein shall be construed or presented as a judicial determination that any document or

material designated Confidential Inforrnation by counsel or the parties is entitled to protection

20319555.vi
10

Case 3:12-CV-01794-SRU Document 112 Filed 07/12/18 Page 11 of 12

under Ruie 26(¢) of the Federal Ruies of Civil Procednre or otherwise until such time as the

Coui't may z‘u§_e on a specific document or issue

17. PerSonS Bouncf. This Order Shaii take effect when entered and Sha!i be binding

upon all counsel of record and their law firms, the perties, and persons made subject to this Order

by its terms.

SO ORDERED.

Dated.:

WE SO MOVE
end agree to abide by the
terms of this Order

 
   

JO}m O`Neil Shechy et28930)
Goidberg Segaila, LLP

100 Peari St:'eet, Suite 1100
Hartford, CT 06103~4506

Tei: (360) 760-331]

Tei: (360) 760~3301
Facsimile: (860) 760-3301
Emaif: jmih‘ad@goidbergsegaiia.com
Emai§: jSheehy@goldbergsegelEa.com

Aftorneysfor Imervener{§)

20319556.v[

 

Hon. Stefan R. U`nderhiii
limited States Distriet judge

WE SO MOVE
and agree to abide by the
terms of this 0rder

niagaer squad hr):ar:n .\m,.~mv, m

' ' 7 7 z . q n , ,
Ketth Amsvvorth, Esq, :;:.':;‘;;;'::::::::';;:;::,:;:.;':“°'“‘“""‘“““‘

951¢‘:]!|!5.0?.|0 095$]:41 M`{|()'

Keith R. Ainsworth

The Law Offices of Keith R. Ainswor£h, Esq.,
LLC

51 Elm Street, Suite 201

New Haven, Connectiout 06510-2049

(203) 435~2014 /(203) 865-i021 fax
keitbrainswoith@iive.com

Af.'omeyfor Defendanfs

11

Case 3:12-cV-01794-SRU Document 112 Filed 07/12/18 Page 12 of 12

UNITED STATES DISTRICT COURT

DISTRICT OF CONNECTICUT
GRANT MACKAY COMPANY, INC,, )
)
Intervenor(s), )
)
v. )
)
ASNAT REAL'I`Y, LLC, EVERGREEN ) No. 3:12-cv~01794
POWER, LLC, URI KAUFIVTAJ\I and )
IRA SCHWARTZ, ) Judge Stefan R. Undcrhill
)
Defendants. )
)

 

ACKNOWLEBGEMENT AND AGREEMENT TO BE BOUND

'l`he undersigned hereby acknowledges that lie/she has read the Confidentiality Order dated
in the above~captioned action and attached hereto, understands the terms thereof,

and agrees to be bound by its terms '§` he undersigned submits to the jurisdiction of the United
States District Court for the District of Connecticut in matters relating to the Confidentiality Order
and understands that the terms of the Confidentiality Crder obligate him/her to use materials
designated as Contidential lnfonnation in accordance with the Order solely for the purposes of the
above-captioned action, and not to disclose any such Confidential Information to any other person,
finn or concern

The undersigned acknowledges that violation of the Cont`identiality Order may result in
penalties for contempt of court.

Name:

 

Job Title:

 

Employer:

 

Business Address:

 

Dated: Signature:

 

ATTACHMENT A

20319556.vl

 

